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                                   STATEMENT OF FACTS

        Your affiant, Kathryn Camiliere, is employed as a Special Agent by the Federal Bureau of
Investigation (“FBI”). Specifically, I am assigned to the Washington Field Office, where I am
currently tasked with investigating criminal activity in and around the United States Capitol
grounds. As a Special Agent, I am authorized by law or by a government agency to engage in or
supervise the prevention, detention, investigation, or prosecution of violations of Federal criminal
laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.
        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of


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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On January 8, 2021, your affiant interviewed a tipster (hereinafter, “T-1”), who indicated
that MARIPOSA CASTRO (“CASTRO”) of Gilroy, California, had participated in the riots at the
Capitol on January 6, 2021. CASTRO is well-known in the community for her counter-protest
activities. T-1 is part of a social media group that has, at times, discussed CASTRO’s conduct.
During those discussions, T-1 has seen images and videos featuring CASTRO that CASTRO has
uploaded to social media platforms. T-1 provided the FBI with screenshots of CASTRO’s
Facebook profile page:




       Based on information that T-1 provided to your affiant, the FBI identified multiple social
media accounts associated with CASTRO, including accounts on Facebook and Instagram using
the names “Imelda Castro” and “Mariposa Castro.” The account “Mariposa Castro” posted the
following regarding the events of January 6, 2021:




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Additionally, CASTRO, using the other Facebook account provided by T-1, “Imelda Castro,”
posted the following:




        CASTRO also uploaded several videos to the “Mariposa Castro” Facebook account on
January 6, 2021. In one video, CASTRO climbed through a window of the Capitol building using
the staging/platform that was built for the Inauguration. The platform is located at the middle

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landing of the Lower West Terrace of the Capitol building. Before entering room ST2M, CASTRO
handed her belongings through the window to someone inside. As reflected in the following screen
shots, CASTRO then climbed into the Capitol building through the window:




As CASTRO climbed into the Capitol building, she narrated: “I’m going in. I’m going in, I’m
going in the Capitol. We’re in! We’re inside the Capitol house. We got inside the Capitol.”

       A separate video taken by an unknown individual captured CASTRO inside of the Capitol
building, apparently moments after she climbed through the window. In that video, CASTRO is
holding her phone as individuals around CASTRO discuss the floor plan of the Capitol building.
CASTRO is holding the same colorful flag that she handed to someone before she climbed into
the Capitol building.




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        CASTRO continued uploading videos throughout the day on January 6, 2021. In one video,
CASTRO indicated that she was “back again.” She “had to get out of there” because they “released
some gases” and she could not “breathe inside there.” In the video, she appeared to again be outside
of the Capitol building. It is apparent from her demeanor, as well as the demeanor of those around
her, that a chemical irritant had been deployed. An image from that video is below:




Behind CASTRO, individuals passed a door through the window of the Capitol building:




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In yet another video, CASTRO filmed the scene outside of the Capitol building as law enforcement
deployed chemical irritants into the air. CASTRO said in the video: “This is too much” and “I’m
getting out.”




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        CASTRO continued uploading videos into the evening. In two additional videos, it appears
to be early evening and CASTRO is walking away from the Capitol building. In one video,
CASTRO and an unknown subject are speaking into the camera. The unknown subject declared,
“Traitors will be shot.” The unknown subject also referenced Vice President Pence and said,
“You’re [sic] coming.” CASTRO added, “We’re coming” and “this is war,” echoing the statements
of the unknown subject.

       FBI agents conducted a canvass interview near CASTRO’s address of record in Gilroy,
California. Witness-1 (“W-1”), a person who was familiar with CASTRO, told FBI agents that
CASTRO indicated she had plans to travel to Washington, D.C. FBI agents obtained travel records
confirming that CASTRO traveled to Washington, D.C., on January 5, 2021, the day before the
riots.

        Your affiant conducted logical investigative queries to confirm pertinent identifiers for
CASTRO, including date of birth. Using that biographical information, FBI personnel located a
registered driver’s license for CASTRO with the California Department of Motor Vehicles
(“DMV”).

       Your affiant reviewed Facebook profile pictures associated with CASTRO’s account,
“Mariposa Castro,” as well as the various social media postings on the account. Examples include
the photo below:



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       Your affiant also reviewed photos of CASTRO posted to CASTRO’s yoga studio
Instagram account. Finally, your affiant compared those photographs with CASTRO’s DMV photo
and believes that the individual in the photographs above is CASTRO.

        On Friday, January 15, 2021, FBI agents attempted contact with CASTRO at her residence
in Gilroy, California. FBI agents could see a woman who matched CASTRO’s description inside
the residence, but the person did not come to the door. A voice message left on CASTRO’s cell
phone has gone unanswered.

        Your affiant submits there is probable cause to believe that CASTRO violated 18 U.S.C. §
1752(a)(1) and (2), which makes it a crime to (1) knowingly enter or remain in any restricted
building or grounds without lawful authority to do; and (2) knowingly, and with intent to impede
or disrupt the orderly conduct of Government business or official functions, engage in disorderly
or disruptive conduct in, or within such proximity to, any restricted building or grounds when, or
so that, such conduct, in fact, impedes or disrupts the orderly conduct of Government business or
official functions; or attempts or conspires to do so. For purposes of Section 1752 of Title 18, a
“restricted building” includes a posted, cordoned off, or otherwise restricted area of a building or
grounds where the President or other person protected by the Secret Service, including the Vice
President, is or will be temporarily visiting; or any building or grounds so restricted in conjunction
with an event designated as a special event of national significance.


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        Your affiant submits there is also probable cause to believe that CASTRO violated 40
U.S.C. § 5104(e)(2)(D), (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.



                                                      _________________________________
                                                      KATHRYN CAMILIERE
                                                      SPECIAL AGENT
                                                      FEDERAL BUREAU OF
                                                      INVESTIGATION


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 21st day of January 2021.
                                                                 2021.01.21
                                                                 15:43:30 -05'00'
                                              __________________________________
                                              THE HONORABLE ROBIN M. MERIWEATHER
                                              U.S. MAGISTRATE JUDGE




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